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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY


    IN RE: JOHNSON & JOHNSON                  MDL NO. 16-2738 (FLW) (LHG)
    TALCUM POWDER PRODUCTS
    MARKETING, SALES
    PRACTICES, AND PRODUCTS
    LIABILITY LITIGATION


   THIS DOCUMENT
   RELATES TO ALL CASES

                  CERTIFICATION OF P. LEIGH O’DELL, ESQ.

         P. Leigh O’Dell, Esq., hereby certifies as follows:

         1.     I am an attorney at law and member of the law firm of Beasley, Allen,

   Crow, Methvin, Portis & Miles, P.C. I was appointed as Plaintiffs’ Co-Lead

   Counsel to represent all Plaintiffs in the above-captioned matter.

         2.     I submit this Certification based on personal knowledge in support of

   the Plaintiffs’ Steering Committee’s Motion to Exclude the Opinions of Drs. Mary

   Poulton and Laura Webb.

         3.     Attached hereto as Exhibit A is a true and correct copy of the

   Deposition of Mary Poulton, Ph.D., dated March 18, 2019.

         4.     Attached hereto as Exhibit B is a true and correct copy of the Expert

   Report of Robert B. Cook, Ph.D., dated November 16, 2018. (filed under seal)
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           5.    Attached hereto as Exhibit C is a true and correct copy of the Expert

   Report of Mark Krekeler, Ph.D., dated November 16, 2018. (filed under seal)

           6.    Attached hereto as Exhibit D is a true and correct copy of the Expert

   Report of Mary Poulton, Ph.D., dated February 25, 2019. (filed under seal)

           7.    Attached hereto as Exhibit E is a true and correct copy of the Expert

   Report of Laura Webb, Ph.D., dated February 25, 2019.

           8.    Attached hereto as Exhibit F is a true and correct copy of the

   Deposition of Laura Webb, Ph.D., dated March 29, 2019.

           9.    Attached hereto as Exhibit G is a true and correct copy of the Report

   of Italian Mine Samples (Pooley Report).

           10.   Attached hereto as Exhibit H is a true and correct copy of Exhibit 14

   (letter dated August 6, 1971) from the Deposition of Mary Poulton. (filed under

   seal)

           11.   Attached hereto as Exhibit I is a true and correct copy of Bates

   Number JNJ000087868 (Progress Report on Studies of the Physical Properties of

   Talc, Their Measurement, and Comparison).

           12.   Attached hereto as Exhibit J is a true and correct copy of Exhibit 28

   (Rio Tinto 2008 Annual Report) from the Deposition of Mary Poulton. (filed under

   seal)
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           13.   Attached hereto as Exhibit K is a true and correct copy of Exhibit 22

   (letter dated May 21, 1987) from the Deposition of Mary Poulton. (filed under

   seal)

           14.   Attached hereto as Exhibit L is a true and correct copy of Exhibit 23

   (letter dated April 14, 1971) from the Deposition of Mary Poulton. (filed under

   seal)

           15.   Attached hereto as Exhibit M is a true and correct copy of Stanley, C.,

   The Fundamental Relationship between Sample Mass and Sampling Variance in

   Real Geological Samples and Corresponding Statistical Models, Exploration and

   Mining Geology, 2007;16(1-2):109-123.

           16.   Attached hereto as Exhibit N is a true and correct copy of Bates

   Number IMERYS 081025 (Talc Geology, Mining and Processing for Cosmetic,

   Pharma and Food Applications PowerPoint). (filed under seal)

           17.   Attached hereto as Exhibit O is a true and correct copy of Exhibit 18

   (Activities Supporting Opinions checklist) from the Deposition of Laura Webb.

           18.   Attached hereto as Exhibit P is a true and correct copy of Exhibit 28

   (Chart) from the Deposition of John Hopkins.

           19.   Attached hereto as Exhibit Q is a true and correct copy of Exhibit 12

   (Interoffice Correspondence dated March 25, 1992) from the Deposition of Laura

   Webb.
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         20.   Attached hereto as Exhibit R is a true and correct copy of Exhibit 13

   (Interoffice Correspondence dated May 21, 1992) from the Deposition of Laura

   Webb. (filed under seal)

         21.   I certify that the foregoing statements made by me are true. I am

   aware that if any of the foregoing statements made by me are willfully false, I may

   be subject to punishment.


                                                /s/ P. Leigh O’Dell
                                                P. Leigh O’Dell
   Dated: May 7, 2019
